Case 2:04-cr-20396-.]PI\/| Document 33 Filed 08/02/05 Page 1 of 5 . Page|D 47
UNITED STATES DlSTR|CT COURT

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_v- 2104cR20396-o1-Ml UW)O$F PNSM .'
KEITHoN RoBleoN

Les|ie Bal|in, Retained

Defense Attorney
200 Jefferson Avenue, #1250

Memphis, TN 38103

 

JUDGMENT |N A CRIM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2 of the indictment on April 8. 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

 

Date Count
Tit|e & Section Natura of Offense Offense Number(s}
Concluded
21 U.S.C. § 860(a) Un|awfu| Possession with intent to 09/01/2004 2

Distribute 19 Pounds of Marijuana
Within 1,000 Feet of a Public
Elementary School

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count 1 is dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by thisjudgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/27/1970 August 1. 2005
Deft's U.S. Marshal No.: 15368-076

Defendant’s Nlailing Address:
6743 Keystone Drive
Nlemphis, TN 38115

§
/Q»@ 1
JON PH|PPS McCALLA
NlTE STATES DlSTR|CT JUDGE
August g , 2005

`l”his document entered on the docket sheet in compliance
with Hule 05 sr1u'/or32(t)) FFtCrP on ’

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Case No: 2:04CR20396-01-M| Defendant Name: Keithon ROBINSON Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 15 Months (or 1 Year and 3 Months).

The Court recommends to the Bureau of Prisons: The defendant be incarcerated
at a facility as close to Memphis, TN as possible.

The defendant shall surrender for service of sentence at the institution designated by the
Bureau of Prisons as notified by the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UNITED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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Case No: 2104CR20396-01-Ml Defendant Name: Keithon ROBINSON Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 Years. '

Thel defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state

or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the Hrst five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘iD) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use.

distribute, or administer any narcotic or other controlled substance. or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation oflicer;

9. The defendant shall permit a probation ofhcer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ofncer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

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Case No: 2:04CR20396-01-Mi Defendant Name: Keithon ROBINSON Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement.

13. |f thisjudgment imposes a fine or a restitution obligation. it shall be a condition cf supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monatary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

The defendant shall cooperate with DNA collection as directed by the Probation Office.
The defendant shall seek and maintain full-time employment.

The defendant shall be prohibited from incurring new credit charges, opening additional lines
of credit or making an obligation for any major purchase without the prior approval of the
Probation Ofiice.

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CR|M|NAL MONETARY PENALTIES
The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Totai Fine Total Restitution
$100.00

 

 

The Special Assessment shall be due immediately.

F|NE
No fine imposed.

RESTITUT|ON
No Restitution was ordered.

   

uNlTED sTATE DRISTIC COURT - WESTERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:04-CR-20396 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

